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    8 Attorneys for Defendants, COUNTY OF ORANGE, ORANGE COUNTY
        SHERIFF-CORONER SANDRA HUTCHENS, JOCELYN LUMITAP, PATTI
    9 TROUT, MARIA TEOFILO, and THOMAS LE

   10                         UNITED STATES DISTRICT COURT
   11                       CENTRAL DISTRICT OF CALIFORNIA
   12 PATRICK RUSSELL, as Personal                   CASE No. 17-CV-00125-JLS (DFM)
      Representative of the Estate of Patrick
   13 John Russell and individually; LYNNE           Assigned for All Purposes to:
      RUSSELL, as Personal Representative of         Hon. Josephine L. Staton - Ctrm 10A
   14 the Estate of Patrick John Russell and
      individually,
   15
                                                     DEFENDANTS’ PROPOSED
   16                Plaintiffs,                     SPECIAL VERDICT FORM
   17         vs.                                    Pre Trial Conf.:   June 8, 2018
                                                     Time:              1:30 p.m.
   18                                                Courtroom:         10A
        COUNTY OF ORANGE; ORANGE
   19 COUNTY SHERIFF-CORONER
        SANDRA HUTCHENS, individually and
   20 in her official capacity; JOCELYN
        LUMITAP, individually; PATTI TROUT,
   21 individually; MARIA TEOFILO,
        individually; THOMAS LE, individually,
   22 and DOES 1 through 10, inclusive,              Trial Date:   July 3, 2018
   23                                                Complaint filed: January 24, 2017
                     Defendants.
   24

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   27         ///
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                    DEFENDANTS’ PROPOSED SPECIAL VERDICT FORM
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    1        TO THIS HONORABLE COURT, TO PLAINTIFFS AND THEIR
    2 COUNSEL OF RECORD:

    3        Defendants COUNTY OF ORANGE, ORANGE COUNTY SHERIFF-
    4 CORONER SANDRA HUTCHENS, JOCELYN LUMITAP, PATTI TROUT,

    5 MARIA TEOFILO, and THOMAS LE hereby submit the attached proposed Special

    6 Verdict Form.

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                 DEFENDANTS’ PROPOSED SPECIAL VERDICT FORM
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    1                               SPECIAL VERDICT FORM
    2        We, the jury in the above-entitled action, find the following special verdict on
    3 the questions submitted to us:

    4

    5 QUESTION NUMBER 1

    6        Were any of the following Defendants deliberately indifferent to Patrick John
    7 Russell’s medical needs?

    8               Jocelyn Lumitap    Yes____ No ___
    9               Patti Trout        Yes____ No ___
   10               Maria Teofilo      Yes____ No ___
   11               Thomas Le          Yes____ No ___
   12        If your answer to Question 1 is “No” as to all four individuals, your
   13 foreperson should sign and date this Special Verdict Form.

   14        If your answer to Question 1 is “Yes” as to any individual, proceed to
   15 Question 2, and only answer Question 2 for that individual.

   16

   17 QUESTION NUMBER 2

   18        Was the conduct of any of the following Defendants plainly incompetent?
   19               Jocelyn Lumitap    Yes____ No ___
   20               Patti Trout        Yes____ No ___
   21               Maria Teofilo      Yes____ No ___
   22               Thomas Le          Yes____ No ___
   23        If your answer to Question 2 is “No” as to all four individuals, skip Questions
   24 3 and 4, and proceed to Question 5.

   25        If your answer to Question 2 was “Yes” as to any individual, proceed to
   26 Question 3, and only answer Question 3 for those/that individual(s).
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   28        ///

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                   DEFENDANTS’ PROPOSED SPECIAL VERDICT FORM
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    1 QUESTION NUMBER 3

    2        Did any of the following Defendants knowingly violate the law regarding
    3 Patrick John Russell’s constitutional rights?

    4               Jocelyn Lumitap    Yes____ No ___
    5               Patti Trout        Yes____ No ___
    6               Maria Teofilo      Yes____ No ___
    7               Thomas Le          Yes____ No ___
    8        If your answer to Question 3 is “No” as to all four individuals, skip Question
    9 4 and proceed to Question 5.

   10        If your answer to Question 3 is “Yes” as to any individual, proceed to
   11 Question 4, and only answer Question 4 for those/that individual(s).

   12

   13 QUESTION NUMBER 4

   14        Did any of the following Defendants have a reasonable belief that his or her
   15 actions did not violate Patrick John Russell’s constitutional rights?

   16               Jocelyn Lumitap    Yes____ No ___
   17               Patti Trout        Yes____ No ___
   18               Maria Teofilo      Yes____ No ___
   19               Thomas Le          Yes____ No ___
   20        Proceed to Question 5.
   21

   22 QUESTION NUMBER 5

   23        Did any of the following Defendants fail to summon immediate medical care?
   24               Jocelyn Lumitap    Yes____ No ___
   25               Patti Trout        Yes____ No ___
   26               Maria Teofilo      Yes____ No ___
   27               Thomas Le          Yes____ No ___
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    1         If your answer to Questions 4 and 5 were "No" as to all four individuals, your
    2 foreperson should sign and date this Special Verdict Form.

    3         If your answer to either Question 4 or 5 was "Yes" as to any individual,
    4 proceed to Question 6, and only answer Question 6 for those/that individual(s).

    5

    6 QUESTION NUMBER 6

    7         Was the conduct of any individual a substantial factor in causing Plaintiffs’
    8 harm?

    9               Jocelyn Lumitap     Yes____ No ___
   10               Patti Trout         Yes____ No ___
   11               Maria Teofilo       Yes____ No ___
   12               Thomas Le           Yes____ No ___
   13         If your answer to Question 6 was "No" as to all four individuals, your
   14 foreperson should sign and date this Special Verdict Form.

   15         If your answer to Question 6 was "Yes" as to any individual, proceed to
   16 Question 7.

   17

   18 QUESTION NUMBER 7

   19         Were Plaintiffs damaged as a result of the conduct of any of the Defendants?
   20               Patrick Russell Yes _____No _____
   21               Lynne Russell     Yes _____No _____
   22

   23         If your answer to Question 7 was “No”, your foreperson should sign and date
   24 this Special Verdict Form

   25         If your answer to Question 7 for either Plaintiff was “Yes”, proceed to
   26 Question 8.
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                  DEFENDANTS’ PROPOSED SPECIAL VERDICT FORM
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    1 QUESTION NUMBER 8

    2        What is the amount of damages you award Plaintiffs?
    3

    4                                       $ ____________________
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    6        Your foreperson should now sign and date this Special Verdict Form.
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    9 DATED:
                                              Foreperson
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                 DEFENDANTS’ PROPOSED SPECIAL VERDICT FORM
